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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

GUADALUPE VILLA-RODRIGUEZ,

                                                     CASE NO. 2:12-CV-261
       Petitioner,                                   CRIM. NO. 2:10-CR-225(4)
                                                     JUDGE MARBLEY
       v.                                            MAGISTRATE JUDGE KING

UNITED STATES OF AMERICA,

       Respondent.

                                   OPINION AND ORDER

       On May 14, 2013, the Magistrate Judge recommended that the Court hold an evidentiary

hearing on Petitioner’s claim that he was denied the effective assistance of counsel because his

attorney failed to file an appeal after being requested to do so and failed to consult with

Petitioner regarding the filing of an appeal. Report and Recommendation, Doc. No. 185. The

Magistrate Judge further recommended that the remainder of Petitioner’s claims be dismissed.

Id. Petitioner has filed objections to that recommendation. Objection, Doc. No. 189.

       Petitioner specifically, objects to the recommendation that certain claims be dismissed.

He contends that the Court should conduct an evidentiary hearing on all his claims.

       Pursuant to 28 U.S.C. § 636(b), this Court has conducted a de novo review. For the

reasons detailed in the Magistrate Judge’s Report and Recommendation, Petitioner’s Objection,

Doc. No. 189, is OVERRULED.              The Report and Recommendation Doc. No. 185, is

ADOPTED and AFFIRMED.               Counsel shall be appointed to represent Petitioner at an

evidentiary hearing before the Magistrate Judge on Petitioner’s claim that he was denied the

effective assistance of counsel because his attorney failed to file an appeal after being requested




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to do so and failed to consult with Petitioner regarding the filing of an appeal. The remainder of

Petitioner’s claims are hereby DISMISSED.

       IT IS SO ORDERED.



       DATED: June 19, 2013                                  s/Algenon L. Marbley
                                                            ALGENON L. MARBLEY
                                                            United States District Judge




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